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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  BMO HARRIS BANK N.A.,
                                                                 Civil Docket No. _________________
                    Plaintiff,

  v.                                                             COMPLAINT

  THE GEHR GROUP, INC.,

                    Defendant.



        NOW COMES Plaintiff BMO Harris Bank N.A., in its capacity as Lender under the Credit

Agreement (defined below) (hereafter “Plaintiff” or “BMO”), by counsel, against The Gehr

Group, Inc. (“Gehr” or “Defendant”), a California corporation, and respectfully states the

following as its Complaint in this matter:

                                                    PARTIES
        1.     Plaintiff BMO is a national banking association with its principal place of business

at 111 West Monroe Street, Chicago, Illinois 60603.

        2.     Defendant Gehr is a California corporation with its principal place of business being

located at 7400 East Slauson Avenue, Commerce, California 90040.

        3.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(1) as the

parties are citizens of different states and the amount in controversy exceeds $75,000.00 exclusive

of interest and costs.

        4.     This Court has personal jurisdiction over the Defendant as it is doing business in the

state of New York and because it has submitted to the jurisdiction of this Court pursuant to the

Guaranty (as hereinafter defined).


Gehr Group Breach of Guaranty Complaint 4820-1899-8733 v9.docx
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       5.       Venue is proper in this Court as the Defendant has submitted to the jurisdiction of

this Court in the Guaranty and therein contractually waived all objections to judicial process in

this Court.

                                           JURISDICTION
       6.       This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §1332, as BMO

is a citizen of Illinois, Defendant Gehr is citizen of California, and the amount in controversy

exceeds the sum of $75,000.00.

                                       BREACH OF GUARANTY
       7.       On or about June 29, 2017, BMO made a loan to Charlotte Hospitality, LLC, a

Delaware limited liability company (“Charlotte” or “Borrower”) in the original principal amount

of $10,950,000.00 pursuant to the terms and conditions set forth in that certain Loan Agreement,

as amended by the Waiver and First Amendment to Loan Agreement dated as of July 12, 2018 and

the Waiver and Second Amendment to Loan Agreement dated September 25, 2019 (as the same

may be further modified or amended, “Loan Agreement”). A true and accurate copy of the Loan

Agreement is attached hereto as Exhibit A.

       8.       On or about June 29, 2017, in consideration of the Loan Agreement, Gehr executed

a Guaranty in favor of BMO guaranteeing payment of amounts due BMO by Charlotte under the

Loan Agreement.

       9.       Thereafter, on September 25, 2019, Gehr executed an Amended and Restated

Guaranty in favor of BMO guaranteeing payment of amounts due BMO by Charlotte under the

Loan Agreement (the “Guaranty”). A true and accurate copy of the Guaranty is attached hereto

as Exhibit B.

       10. Charlotte has defaulted under under Section 10.1(a) of the Loan Agreement by virtue

of, among other things, (1) its failure to make the monthly payment of accrued interest when due



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as required under the Loan Agreement (the “Interest Default”); and (2) its failure to make a

mandatory prepayment of the outstanding principal balance of the loan in an amount equal to Five

Hundred Thousand and No/100 Dollars ($500,000.00) within ten (10) Business Days after BMO’s

written request therefor as required by Section 2.4(d) of the Loan Agreement (the “Remargin

Default”).

       11. As a result of Charlotte’s default, on September 29, 2020, BMO made written demand

on Charlotte and Gehr for payment of all amounts due and owing under the Loan Agreement (the

“Demand Letter”). A true and correct copy of the Demand Letter is attached hereto as Exhibit C.

       12. Pursuant to the Guaranty, Gehr is liable to BMO for certain amounts now due and

owing to BMO by Charlotte under the Loan Agreement, together with the costs incurred in the

collection of the amounts owed under Loan Agreement, including BMO’s court costs and

attorneys’ fees. See Guaranty, Exhibit B, p. 10.

       13. BMO has performed all of its duties and obligations under the Loan Agreement and

Guaranty.

       14. As of October 9, 2020, Charlotte is indebted to BMO in the principal amount of

$9,615,786.97, plus accrued interest, including default interest, of $112,107.06, and late charges

of $30,605.35 in addition to attorneys’ fees and costs.

       15. Pursuant to the applicable Guaranty Percentage set forth in the Guaranty, as of

October 9, 2020, Gehr is liable to BMO in the amount of $2,403,946.74 in principal, plus accrued

interest, including default interest, of $112,107.06, and late charges of $30,605.35 in addition to

all applicable enforcement costs, including attorneys’ fees.




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       WHEREFORE, Plaintiff, BMO Harris Bank N.A., respectfully requests that judgment be

entered in its favor and against Defendant The Gehr Group, Inc. in the amount of $2,546,659.15,

plus accrued and further accruing interest, attorneys’ fees and enforcement costs, and any other

relief that this Court deems just and proper.

                                                 Respectfully submitted,
                                                 BMO HARRIS BANK N.A.


                                                            /s/ Joseph P. Lombardo
                                                 By ____________________________________
                                                              One of Its Attorneys
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